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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                 JONESBORO DIVISION


ELIZABETH ELLSWORTH                                                           PLAINTIFF

v.                               CASE NO.: 3:18-CV-194-DPM

PUMPKIN HOLLOW, LLC                                                          DEFENDANT

          RESPONSE TO MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

         Defendant, Pumpkin Hollow, LLC, submits the following response to Counsel for

Plaintiff’s Motion for Leave to Withdraw as Counsel and states:

         1.       Defendant does not object to the withdrawal of counsel.

         2.       Defendant respectfully requests that should the Court grant the withdrawal, that

all upcoming deadlines in the Final Scheduling Order be reset but asks that the Court not reset

those deadlines that have already passed.

                                               Respectfully Submitted,

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